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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


            MARIO GUZZO,

                 Plaintiff,                          Case No. 1:23-cv-01934

                    v.

           SCHENKER, INC.,

                Defendant.


                                      ORDER

      AND NOW, this 9th day of January 2024, upon consideration of the

parties’ Notice of Settlement and Unopposed Motion to Vacate Deadlines it is

hereby ORDERED that the Motion is GRANTED. All deadlines set in the above-

captioned proceeding are hereby vacated and further proceedings stayed. The parties

are also hereby ORDERED to submit a joint status report on or before January 31,

2024 if the case is not dismissed on or before that date.




                                                     ___________________
                                                      s/ Jennifer P. Wilson J.
                                                     Hon. Jennifer P. Wilson
